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            EXHIBIT
            EXHIBIT A
                    A


                    Invoices
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                   LORDSTOWN MOTORS CORP.
                     TASK CODE SUMMARY
               NOVEMBER 1, 2023 - NOVEMBER 30, 2023


Code     Category                                        Hours       Amount
B100     Administration                                     7.0      5,096.50
B110     Case Administration                                5.5      4,705.00
B190     Other Contested Matters                            2.0      1,580.00
B460     Securities Matters                               118.2     79,254.00
B510     General Benefit Matters                            3.2      2,192.00

                                                         135.9      92,827.50
         Less Discounts                                             -9,282.75
         Total                                           135.9      83,544.75
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                              LORDSTOWN MOTORS CORP.
                                TIMEKEEPER SUMMARY
                          NOVEMBER 1, 2023 - NOVEMBER 30, 2023


Timekeeper               Title                                Rate         Hours     Amount
Atkinson, Susan L.       Paralegal                          260.00           0.7       185.50
Barrow Clark, Erica      Associate                          970.00           2.0     1,940.00
Brown, David H.          Associate                          610.00           0.8       488.00
Hanselman, Suzanne K.    Partner                            805.00           0.3       241.50
Murray, Brian M.         Partner                            685.00           3.2     2,192.00
Spreen, Janet A.         Partner                            780.00          83.7    65,286.00
Stevenson, Brittany E.   Associate                          400.00          33.7    13,480.00
VanNiel, Michael A.      Partner                            790.00          11.2     8,848.00
Vlasek, Jeffrey R.       Partner                            555.00           0.3       166.50

                                                                            135.9   92,827.50
                                                   Less Discounts                   -9,282.75
                                                            Total           135.9   83,544.75
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            LORDSTOWN MOTORS
            LORDSTOWN     MOTORS CORP.
                                   CORP.
                EXPENSE SUMMARY
                EXPENSE     SUMMARY
        NOVEMBER 1, 2023 - NOVEMBER
        NOVEMBER  1, 2023 - NOVEMBER 30,
                                       30, 2023
                                           2023

    None.
    None.
    Total
    Total                                          0.00
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Regarding:                General Corporate Matters (2022-2024)
Matter Number:            116592.000110



Date         Name               Description                                                Rate      Hours        Amount

11/01/23     Atkinson, Susan Receive Mr. Stepanovic's approval for audit                  265.00       0.70         185.50
             L.              response content and send to the audit
                             committee for review, finalize response
                             based on committee review and send PDF
                             of executed response to auditor and Ms.
                             Leonard, and supplement files.

11/01/23     Hanselman,         Conduct audit committee review of audit                   805.00       0.30         241.50
             Suzanne K.         response.

11/09/23     VanNiel,           Correspondence with White & Case                          790.00       0.10          79.00
             Michael A.         regarding coordination of interim fee
                                applications filings.

11/10/23     VanNiel,           Review and analyze fee application as                     790.00       2.00       1,580.00
             Michael A.         permitted to be charged in accordance with
                                U.S. Trustee Guidelines and multiple
                                correspondence with working group
                                regarding same, all in accordance with U.S.
                                Trustee Guidelines, the Bankruptcy Code
                                and applicable Bankruptcy Rules.

11/14/23     VanNiel,           Review and revise third monthly fee                       790.00       2.90       2,291.00
             Michael A.         statement and first interim fee application as
                                special counsel.

11/14/23     VanNiel,           Correspondence with White & Case and                      790.00       0.30         237.00
             Michael A.         internal working group regarding interim fee
                                application and monthly fee statement.

11/22/23     VanNiel,           Review and address issues regarding Baker                 790.00       0.20         158.00
             Michael A.         & Hostetler Second Monthly Fee Statement
                                in accordance with local US Trustee
                                guidelines.

11/22/23     VanNiel,           Correspondence with White & Case                          790.00       0.20         158.00
             Michael A.         regarding documents for submission to
                                court relating to Second Monthly Fee
                                Statement.




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Date       Name            Description                                                    Rate     Hours        Amount
11/30/23   Vlasek, Jeffrey Review initial questions regarding                           555.00      0.30         166.50
           R.              employment agreements related to
                           bankruptcy proceeding.

Administration(B100)                                                                                 7.00       5,096.50

11/07/23   VanNiel,           Review and address issues relating to                     790.00       1.50       1,185.00
           Michael A.         ongoing corporate and securities matters in
                              light of court requirements relating to
                              disclosure of same.

11/13/23   VanNiel,           Review and address open corporate and                     790.00       2.00       1,580.00
           Michael A.         securities issues in light of latest bankruptcy
                              developments and pleadings filed with
                              court.

11/16/23   Barrow Clark,      Correspond with Ms. Leonard regarding                     970.00       0.30         291.00
           Erica              corporate records.

11/16/23   Barrow Clark,      Review and analyze corporate records.                     970.00       1.70       1,649.00
           Erica

Case Administration(B110)                                                                            5.50       4,705.00

11/06/23   VanNiel,           Review and analyze select bankruptcy                      790.00       1.00         790.00
           Michael A.         filings impacting ongoing corporate and
                              securities matters.

11/09/23   VanNiel,           Review and analyze select bankruptcy                      790.00       1.00         790.00
           Michael A.         filings and issues relevant to ongoing
                              securities and corporate matters.

Other Contested Matters(B190)                                                                        2.00       1,580.00




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B460                     Securities Matters
                         116592.000024




Name                                                                         Hours             Rate                  Amount
Spreen, Janet A.                                                              83.70      $ 780.00       $          65,286.00
Brown, David H.                                                                0.80          610.00                   488.00
Stevenson, Brittany E.                                                        33.70          400.00                13,480.00
10% Courtesy Discount                                                                                              (7,925.40)
                           Total                                            118.20                      $          71,328.60



Date         Name                            Description                                              Hours         Amount

11/01/23     Spreen, Janet A.                Attention to Form 10-Q comments and                       2.00         1,560.00
                                             status.

11/01/23     Spreen, Janet A.                Attention to audit letter updates.                        0.30           234.00

11/01/23     Stevenson, Brittany E.          Review and update Form 10-Q.                              2.90         1,160.00

11/02/23     Spreen, Janet A.                Attention to Form 10-Q update and review.                 4.50         3,510.00

11/02/23     Stevenson, Brittany E.          Review and update Form 10-Q.                              4.20         1,680.00

11/03/23     Spreen, Janet A.                Attention to Form 10-Q update and review.                 1.20           936.00

11/03/23     Stevenson, Brittany E.          Review and update Form 10-Q.                              0.20            80.00

11/03/23     Stevenson, Brittany E.          Prepare and distribute comparison                         0.10            40.00
                                             document.

11/03/23     Stevenson, Brittany E.          Call with Mr. Port to discuss Form 10-Q.                  0.30           120.00

11/04/23     Spreen, Janet A.                Attention to Form 10-Q update and review.                 1.50         1,170.00

11/04/23     Stevenson, Brittany E.          Prepare and distribute comparison                         0.20            80.00
                                             document.

11/06/23     Spreen, Janet A.                Attention to Form 10-Q review and                         3.50         2,730.00
                                             revisions.

11/06/23     Spreen, Janet A.                Attend disclosure committee meeting.                      1.50         1,170.00



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Date         Name                            Description                                           Hours           Amount

11/06/23     Stevenson, Brittany E.          Attend disclosure committee call.                       1.00            400.00

11/06/23     Stevenson, Brittany E.          Review and update Form 10-Q.                            0.40            160.00

11/07/23     Spreen, Janet A.                Attention to EDGAR passcode update                      0.10             78.00
                                             questions.

11/07/23     Spreen, Janet A.                Review, revise and discuss Form 10-Q.                   5.00          3,900.00

11/07/23     Stevenson, Brittany E.          Prepare application to obtain replacement               1.20            480.00
                                             EDGAR codes.

11/07/23     Stevenson, Brittany E.          Review and update Form 10-Q.                            2.70          1,080.00

11/08/23     Spreen, Janet A.                Attention to Compensation Committee                     1.20            936.00
                                             meeting agenda and matter for
                                             consideration.

11/08/23     Spreen, Janet A.                Attend Compensation Committee meeting.                  1.00            780.00

11/08/23     Spreen, Janet A.                Review and revise Form 10-Q.                            6.00          4,680.00

11/08/23     Stevenson, Brittany E.          Review and update Form 10-Q.                            4.00          1,600.00

11/09/23     Spreen, Janet A.                Review, revise and discuss Form 10-Q.                   7.30          5,694.00

11/09/23     Spreen, Janet A.                Attention to Compensation Committee                     1.50          1,170.00
                                             Written Consent for Alternative Severance
                                             Pay.

11/09/23     Spreen, Janet A.                Prepare Audit Committee version of Form                 1.00            780.00
                                             10-Q and send to committee.

11/09/23     Stevenson, Brittany E.          Review and update Form 10-Q.                            3.50          1,400.00

11/09/23     Stevenson, Brittany E.          Prepare Compensation Committee written                  1.50            600.00
                                             consent.

11/10/23     Spreen, Janet A.                Attention to Form 10-Q comments and                     8.00          6,240.00
                                             revisions.

11/10/23     Spreen, Janet A.                Review materials and attend Audit                       1.50          1,170.00
                                             Committee Meeting.

11/10/23     Spreen, Janet A.                Attention to Employment Agreement and                   1.00            780.00
                                             transition issues.



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Date         Name                            Description                                           Hours           Amount

11/10/23     Stevenson, Brittany E.          Review and update draft Form 10-Q.                      1.20            480.00

11/11/23     Spreen, Janet A.                Attention to Form 10-Q comments and                     1.50          1,170.00
                                             revisions.

11/11/23     Stevenson, Brittany E.          Prepare exhibits.                                       0.80            320.00

11/12/23     Spreen, Janet A.                Attention to Form 10-Q comments and                     8.00          6,240.00
                                             revisions.

11/13/23     Spreen, Janet A.                Attention to Form 10-Q revisions and                   10.00          7,800.00
                                             comments.

11/13/23     Spreen, Janet A.                Attention to Audit Committee minutes.                   0.10             78.00

11/13/23     Stevenson, Brittany E.          Review and update Form 10-Q.                            4.70          1,880.00

11/14/23     Brown, David H.                 Review and analyze finalized language                   0.80            488.00
                                             from filed Form 10-Q in order to begin
                                             updating the S-1 with those updates.

11/14/23     Spreen, Janet A.                Attention to finalizing Form 10-Q.                      2.00          1,560.00

11/14/23     Spreen, Janet A.                Prepare Board and Committee meeting                     1.30          1,014.00
                                             minutes.

11/14/23     Stevenson, Brittany E.          Review and update Form 10-Q.                            0.60            240.00

11/20/23     Spreen, Janet A.                Prepare board minutes.                                  0.70            546.00

11/20/23     Spreen, Janet A.                Prepare draft committee meeting minutes.                1.00            780.00

11/21/23     Spreen, Janet A.                Prepare draft committee meeting minutes.                1.00            780.00

11/21/23     Stevenson, Brittany E.          Prepare Passphrase Updated Request for                  0.60            240.00
                                             changing EDGAR Codes.

11/22/23     Spreen, Janet A.                Call with Mr. Kroll regarding SEC filing                0.60            468.00
                                             planning.

11/27/23     Spreen, Janet A.                Prepare outline of post-emergence                       1.50          1,170.00
                                             securities matters.

11/27/23     Spreen, Janet A.                Prepare Audit Committee Meeting Minutes.                0.30            234.00

11/28/23     Spreen, Janet A.                Meeting regarding post-emergence                        1.00            780.00



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Date         Name                            Description                                            Hours           Amount
                                             securities matters.

11/28/23     Stevenson, Brittany E.          Review sample Form 10-K, Form 10-Q and                   2.10            840.00
                                             proxy statement disclosure.

11/29/23     Spreen, Janet A.                Attention to minutes for approval at Board               0.30            234.00
                                             Meeting.

11/29/23     Spreen, Janet A.                Attention to review of post-emergence SEC                1.00            780.00
                                             filings for issue identification and planning.

11/29/23     Spreen, Janet A.                Attention to preparation of employment                   1.00            780.00
                                             agreement settlement agreements.

11/29/23     Spreen, Janet A.                Review updated disclosure for website.                   0.20            156.00

11/29/23     Spreen, Janet A.                Call with Mr. Kroll regarding authorizations             0.30            234.00
                                             for signing documents and bank accounts.

11/30/23     Spreen, Janet A.                Attention to preparation of employment                   1.00            780.00
                                             agreement settlement agreements.

11/30/23     Spreen, Janet A.                Review internal controls requirement                     1.00            780.00
                                             questions.

11/30/23     Spreen, Janet A.                Prepare for and attend Board Meeting.                    1.50          1,170.00

11/30/23     Spreen, Janet A.                Attention to RSU vesting and tax                         0.30            234.00
                                             withholding question.

11/30/23     Stevenson, Brittany E.          Review sample Form 10-K, Form 10-Q and                   1.50            600.00
                                             proxy statement disclosure.

             Total                                                                                 118.20          79,254.00




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B510                    General Benefit Matters (2022-2024)
                        116592.000126




Name                                                                        Hours             Rate                  Amount
Murray, Brian M.                                                              3.20      $ 685.00       $           2,192.00
10% Courtesy Discount                                                                                               (219.20)
                           Total                                              3.20                     $           1,972.80



Date         Name                            Description                                             Hours         Amount

11/21/23     Murray, Brian M.                Draft correspondence with participants in                1.10           753.50
                                             the 401(k) plan regarding limitations on
                                             investment and distribution rights, as well
                                             as advising of the timing for cessation of
                                             contributions.

11/22/23     Murray, Brian M.                Draft summary of tasks necessary to                      2.10         1,438.50
                                             complete for the termination and windup of
                                             the 401(k) plan.

             Total                                                                                    3.20         2,192.00




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       Los Angeles   New York    Orlando        Philadelphia    San Francisco     Seattle    Washington, DC    Wilmington
